Case 19-11134-pmm   Doc   Filed 07/05/22 Entered 07/05/22 14:19:48   Desc Main
                          Document      Page 1 of 6
Case 19-11134-pmm   Doc   Filed 07/05/22 Entered 07/05/22 14:19:48   Desc Main
                          Document      Page 2 of 6
Case 19-11134-pmm   Doc   Filed 07/05/22 Entered 07/05/22 14:19:48   Desc Main
                          Document      Page 3 of 6
Case 19-11134-pmm   Doc   Filed 07/05/22 Entered 07/05/22 14:19:48   Desc Main
                          Document      Page 4 of 6
Case 19-11134-pmm   Doc   Filed 07/05/22 Entered 07/05/22 14:19:48   Desc Main
                          Document      Page 5 of 6
Case 19-11134-pmm   Doc   Filed 07/05/22 Entered 07/05/22 14:19:48   Desc Main
                          Document      Page 6 of 6
